 

COMPLAINT

(for filers who are prisoners without lawyers)

UNITED STATES DISTRICT COURT
`EASTERN DISTRICT OF WISCONSIN

 

 

(Full name of plaintiff(s))

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V. Case Number:
1 7 -6-066 l¢'

(to be supplied by Clerk of Court)

(Full name of defendant(s))

linda Bm¢b@)za

 

 

 

 

 

 

A. PARTIES
1. Plaintiff is a citizen of b w?é (Dr\¢gr\ , and is located at
(State)'

115 51 QO\QM 55@, G<<~Cm %a/, CL,.SH:>@¥

(Address of prisoln or jail) `

(If more than one plaintiff is filing, _use another piece of paper.)

2. Defendant __l:>F/`l(`/\L Pm(}Y/Sh&

(Name)

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1s (1f a person or pr1vate corporation) a c1tlzen of \_\cj$(‘ mgm

(State, if known)
and (if a person) resides at

 

(Address, if known)
and (if the defendant harmed you While doing the defendant's job)

worked for P)m\,§¥\ CO\AH\'\/ C§¥\U$Y$ D€JO(’A=\/\`(\C{\Jl' l(é>)('l D©/C)Odnml' DS`,,

%C,“O/M{,,\Al`.[, SL\E)\\ (Employer' s name and address, if known)

(If you need to list more defendants, use another piece of paper.)
B. sTATEMENT 015 CLAIM

On the space provided on the following pages,_ tell:
Who violated your rights;
What each defendant did;
‘ £"When they did it;
Where it happened; and
Why they did it, if you know.

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C. JURISDK;TION

m I am suing for a violation of federal law under 28 U.S.C. § 1331.
OR

m I am suing under state law. The state citizenship of the plaintiff(s) is (are)
different from the state citizenship of every defendant, and the amount of
money at stake in this case (not counting interest and costs) is

$

D. RELIEF WANTED

Describe what you want the Court to do if you win your lawsuit Examples may
include an award of money or an order telling defendants to do something or to
stop doing something

 

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E. ]URY DE‘MA'SJW (~\

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I want a jury to hear my case.

|j|_YEs |:|_NO

I declare under 'penalty of perjury that the foregoing is true and correct.
Complaint signed this 972 day of MC®?/ ZO”i`:/L . _

Respectfully Submitted,

Signature of Plaintiff

CL'%OOOOOCBO\/l:)_

Plaintiff’s Prisoner ID Number

 

 

(Mailing Address of Plaintiff)
(If more than one plaintiff, use another piece of paper.)

REQUEST TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING THE
FULL FILING FEE

j I DO request that I be allowed to file this complaint without paying the filing fee.

I have completed a Request to Proceed in District Court without Prepaying the
Full Filing Fee form and have attached it to the complaint

m I DO NOT request that I be allowed to file this complaint without prepaying the

filing fee under 28 U.S.C. § 1915, and I have included the full filing fee with this
complaint

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